Case 2:21-cv-04043-MCS-JPR Document 48 Filed 08/25/23 Page 1 of 2 Page ID #:463




   1
   2
   3
   4
   5                                    NOTE CHANGES MADE BY THE COURT
   6
   7
   8
   9
  10
  11
  12                       UNITED STATES DISTRICT COURT
  13        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  14 DAVID MARKS, an individual, on            CASE NO.: 2:21-cv-04043-MCS-JPR
     behalf of himself and all others
  15 similarly situated,                       CLASS ACTION
  16              Plaintiff,                   ORDER RE: STIPULATION TO
                                               CONTINUE DEADLINE TO
  17        v.                                 AMEND COMPLAINT OR
                                               REQUEST REFERRAL TO ADR
  18 UMG RECORDINGS, INC., a                   (ECF No. 47)
     Delaware corporation,
  19
                Defendant.
  20
  21
  22
  23
  24
  25
  26
  27
  28

         [PROPOSED] ORDER RE: STIPULATION TO CONTINUE DEADLINE TO AMEND COMPLAINT OR
                                    REQUEST REFERRAL TO ADR
Case 2:21-cv-04043-MCS-JPR Document 48 Filed 08/25/23 Page 2 of 2 Page ID #:464
